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Dated: October 25, 2023
Wilmington, Delaware

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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 11

 FTX TRADING LTD., et al.,                             Case No. 22-11068 (JTD)

           Debtors.                                    (Jointly Administered)



 FTX TRADING LTD. and MACLAURIN
 INVESTMENTS LTD.,

 Plaintiffs,

                       -against-                       Adv. Pro. No. 23-50437 (JTD)
 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON
 WILLIAMS,

                                   Defendants.



             FIRST SET OF REQUESTS FOR ADMISSION BY DEFENDANTS
            LOREM IPSUM UG, PATRICK GRUHN, AND ROBIN MATZKE TO
          PLAINTIFFS FTX TRADING LTD. & MACLAURIN INVESTMENTS LTD.


          Pursuant to Federal Rules of Civil Procedure 36, made applicable in the above-captioned

adversary proceeding by Federal Rule of Bankruptcy Procedure 7036, Defendants Lorem Ipsum

UG, Patrick Gruhn, and Robin Matzke, by their undersigned attorneys, hereby propound the

following requests for admissions to Plaintiffs FTX Trading Ltd. and Maclaurin Investments Ltd.

(“Requests,” and each a “Request”). Defendants Lorem Ipsum UG, Patrick Gruhn, and Robin

Matzke hereby request that Plaintiffs FTX Trading Ltd. and Maclaurin Investments Ltd. answer

the following Requests, within thirty (30) days of the date of service.




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                                          DEFINITIONS

        1.      The terms “concerning,” “regarding,” “referring to” and “relating to” (or an any

variation thereof) mean describing, discussing, constituting, containing, considering, embodying,

evaluating, mentioning, memorializing, supporting, collaborating, demonstrating, proving,

evidencing, showing, refuting, disputing, rebutting, regarding, controverting, contradicting, made

in connection with or by reason of, or derived or arising therefrom.

        2.      The terms “and” and “or” shall be interpreted in every instance as meaning

“and/or” and shall not, in either instance, be interpreted disjunctively to exclude any document or

information otherwise within the scope of any description or request herein.

        3.      The use of the present tense includes the past tense, the use of the past tense shall

include the present tense, and the use of any verb in any tense shall be construed as including the

use of that verb in all other tenses.

        4.      Words and phrases not defined shall have their ordinary and plain meaning within

the context of the Federal Rules of Civil Procedure (“Federal Rules”) and the Federal Rules of

Bankruptcy Procedure (“Bankruptcy Rules”) and in accordance with the generally accepted

meaning accorded such words and phrases in everyday use in the English language.

        5.      “Adversary Proceeding” refers to the above-captioned adversary proceeding,

specifically, FTX Trading Ltd. and Maclaurin Investments Ltd. v. Lorem Ipsum UG, Patrick

Gruhn, Robin Matzke, and Brandon Williams, Case No. 23-50437 (JTD) (Bankr. D. Del.).

        6.      “Bankruptcy Proceeding” refers to the above-captioned main Chapter 11

bankruptcy proceeding of the jointly administered Debtors pending in the United States

Bankruptcy Court for the District of Delaware, Case No. 22-11068 (JTD).



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       7.      “Complaint” means the Complaint for Avoidance and Recovery of Transfers, and

Obligations Pursuant to 11 U.S.C. §§ 105, 547, 548, and 550, Breach of Fiduciary Duty Pursuant

to Antiguan Common Law and the Antigua International Business Corporations Act, and for

Disallowance of Claims Pursuant to 11 U.S.C. § 502(d), filed on July 12, 2023 [Adv. P. No. 1] in

the Adversary Proceeding.

       8.      “DAAG” refers to Digital Assets DA AG, now known as FTX Europe AG, and its

wholly owned subsidiaries.”

       9.      “DAAG Acquisition” refers to the acquisition of DAAG and its subsidiaries by

FTXT, as described in Paragraphs 49-77 of the Complaint.

       10.     “Debtors” refers to the entities jointly administered in the Bankruptcy Proceeding.

       11.     “Demanding Defendants” refers collectively to LI, Gruhn, and Matzke (each

defined below).

       12.     “Defendants” refers collectively to LI, Gruhn, Matzke, and Williams.

       13.     “FTX Group” refers to the entities and individuals referenced or referred in

Footnote 2 of the Complaint, individually and/or collectively.

       14.     “FTXT” refers to FTX Trading Ltd., a corporation described in Paragraph 14 of

the Complaint as registered in Antigua and Barbuda with a principal place of business formerly in

Nassau, Bahamas.

       15.     “Gruhn” refers to Defendant Patrick Gruhn.

       16.     “Instructions” refers to the instructions following this “Definitions” section.

       17.     “IP” means recognized protectable rights and interests, such as patents, copyrights,

trademarks, service marks, applications for any of the foregoing, inventions, trade secrets, trade

dress, domain names, logos, insignia, color combinations, slogans, moral rights, right of publicity,

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author’s rights, contract and licensing rights, works, industrial design rights, rights of priority,

know how, design flows, methodologies, devices business processes, developments, innovations,

good will, and all other legal rights protecting intangible proprietary information.

       18.       “K-DNA” refers to K-DNA Financial Services Ltd., as described in Paragraph 6 of

the Complaint.

       19.       “Lorum Ipsum” or “LI” refers to Defendant Lorem Ipsum UG, a/k/a Lorem Ipsum

RM UG, a German company.

       20.       “Maclaurin” refers to Maclaurin Investments Ltd., f/k/a Alameda Ventures Ltd.,

described in Paragraph 15 of the Complaint as a corporation registered in Seychelles.

       21.       “Matzke” refers to Defendant Robin Matzke.

       22.       “Person” has the meaning set forth in 11 U.S.C. § 101(41).

       23.       “Plaintiffs” refers to: (a) FTXT, and (b) Maclaurin.

       24.       “Ukaj” refers to Ernest Ukaj.

       25.       “SBF” refers to Samuel Bankman-Fried.

       26.       “Requests for Admission” or “Request” refers to the individual Requests for

Admission set forth this Request.

       27.       “You” or “Your” refers to either or both Plaintiffs, and any other Person acting on

behalf of the foregoing.

       28.       Terms used in the Requests but not otherwise defined shall have the meanings

ascribed to them in the Complaint.




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                                         INSTRUCTIONS

       1.      These Requests shall be deemed continuing, and supplemental answers shall be

required if you directly or indirectly obtain further information after the initial response, as

provided by Federal Rule of Civil Procedure 26(e).

       2.      With respect to the Requests, pursuant to Federal Rule of Civil Procedure 36(a)(4):

“If a matter is not admitted, the answer must specifically deny it or state in detail why the

answering party cannot truthfully admit or deny it. A denial must fairly respond to the substance

of the matter; and when good faith requires that a party qualify an answer or deny only a part of a

matter, the answer must specify the part admitted and qualify or deny the rest. The answering party

may assert lack of knowledge or information as a reason for failing to admit or deny only if the

party states that it has made reasonable inquiry and that the information it knows or can readily

obtain is insufficient to enable it to admit or deny.”

       3.      With respect to the Requests, pursuant to Federal Rule of Civil Procedure 36(a)(5):

“The grounds for objecting to a request must be stated. A party must not object solely on the

ground that the request presents a genuine issue for trial.”

       4.      Any information withheld pursuant to a claim of privilege must be disclosed

pursuant to Federal Rule of Civil Procedure 26(b)(5). The Requesting Defendants request a

privilege log to be provided with your response to the Requests.

       5.      If you fail to comply with the provisions of Federal Rules of Bankruptcy Procedure

7026 and 7036, incorporating the provisions of Federal Rules of Civil Procedure 26 and 36, with

respect to the Requests, the matters about which an admission are requested shall be deemed

admitted.




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       6.      Unless otherwise specified, the relevant period for the Requests shall be from

January 1, 2020 through the present.

                               REQUESTS FOR ADMISSION
       1.      Admit that in connection with SPA 1, some or all of Defendants provided

documents, whether in a data room or otherwise, to FTXT, Maclaurin, and/or any other individuals

or entities in, affiliated with, employed by, engaged by, or working on behalf of the FTX Group

and/or any entities therein.

       2.      Admit that in connection with SPA 2, some or all of Defendants provided

documents, whether in a data room or otherwise, to FTXT, Maclaurin, and/or any other individuals

or entities in, affiliated with, employed by, engaged by, or working on behalf of the FTX Group

and/or any entities therein.

       3.      Admit that in connection with SPA 3, some or all of Defendants provided

documents, whether in a data room or otherwise, to FTXT, Maclaurin, and/or any other individuals

or entities in, affiliated with, employed by, engaged by, or working on behalf of the FTX Group

and/or any entities therein.

       4.      Admit that in connection with SPA 1, FTXT, Maclaurin, and/or any other

individuals or entities in, affiliated with, employed by, engaged by, or working on behalf of the

FTX Group and/or any entities therein were represented by or communicated with an attorney

and/or legal counsel.

       5.      Admit that in connection with SPA 2, FTXT, Maclaurin, and/or any other

individuals or entities in, affiliated with, employed by, engaged by, or working on behalf of the

FTX Group and/or any entities therein were represented by or communicated with an attorney

and/or legal counsel.


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       6.      Admit that in connection with SPA 3, FTXT, Maclaurin, and/or any other

individuals or entities in, affiliated with, employed by, engaged by, or working on behalf of the

FTX Group and/or any entities therein were represented by or communicated with an attorney

and/or legal counsel.

       7.      Admit that on or about April 7, 2022 BDO USA, LLP provided a report, titled ASC

805 Valuation of Certain Assets of FTX Trading Ltd. (“BDO Report”), to FTXT, Maclaurin, or

any other individuals or entities in, affiliated with, employed by, engaged by, or working on behalf

of the FTX Group and/or any entities therein.

       8.      Admit that the document attached as Exhibit A, is a true, correct, and genuine copy

of the BDO Report.

       9.      Admit that the BDO Report stated that it “determined the fair value of certain

intangible assets and liabilities . . . related to the transactions with Digital Assets DAAG (‘DAAG,’

the ‘Seller’ or the ‘Company’), acquired by FTX Trading Ltd. (‘FTX Trading’ or the ‘Acquirer’

or the ‘Client’) on November 14, 2021 (the ‘Valuation Date’).”

       10.     Admit that the BDO Report provided a fair value of DAAG that was $1,400,000

for trade names and trademarks, $152,100,000 for operating licenses, and $83,479,000 for

contingent consideration.

       11.     Admit that FTXT, Maclaurin, or any other individuals or entities in, affiliated with,

employed by, engaged by, or working on behalf of the FTX Group and/or any entities therein

declined to acquire and/or declined to offer to acquire Kephas.

       12.     Admit that FTXT, Maclaurin, or any other individuals or entities in, affiliated with,

employed by, engaged by, or working on behalf of the FTX Group and/or any entities therein has

not paid Matzke and/or Gruhn more than $100 million for the acquisition of K-DNA.

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Dated: October 25, 2023
Wilmington, Delaware

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           Exhibit A




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Engagement Overview
                                                                                               Valuation premise (In-use or In-exchange) for acquired assets;

                                                                                               Specific valuation techniques; and,

                                                                                               Valuation inputs, including a fair value hierarchy.

                                                                                           BDO’s consideration of this framework is discussed in greater detail in
                                                                                           Appendix VI.
BDO was retained to determine the fair value of the Subject Assets of
DAAG, acquired by FTX Trading on November 14, 2021. This valuation
analysis was conducted for financial reporting purposes in connection
                                                                                           Level of Value and Premise of Value
with ASC 805, Business Combinations.

                                                                                           The Subject Assets were valued on a going concern basis, which
                                                                                           assumes that they will be utilized in an ongoing business with no plans
Standard of Value                                                                          to liquidate in the foreseeable future.

ASC 805 refers to ASC 820 for guidance in defining fair value. ASC 820
establishes a consistent definition of fair value and provides a
                                                                                           Scope
framework for measuring fair value. The standard of value to be used
in our analysis for financial reporting purposes is fair value. Fair value
                                                                                           The scope of this valuation encompassed such steps and procedures as
is defined in FASB’s ASC 820 as:
                                                                                           we deemed necessary, including, but not limited to, the following:

      “. . . the price that would be received to sell an asset or paid to
                                                                                               Discussions with Management relative to the nature of the
      transfer a liability in an orderly transaction between market
      participants at the measurement date.”                                                   Company’s business activities, the magnitude and character of
                                                                                               the markets served, recent and prospective financial trends and
In estimating the fair value of the assets, ASC 820 requires specific                          conditions, the economic outlook and future operating plans of
consideration of the following framework:                                                      the Company, and other relevant factors associated with DAAG
                                                                                               and its Subject Assets;
      Unit of account for the acquired assets;
                                                                                               Consideration of ASC 805, ASC 820, and other relevant
      Exit market (i.e. the principal or most advantageous market)                             Accounting Standards Codification Sections and guidelines as
      for the acquired assets;                                                                 promulgated by the Financial Accounting Standards Board that
                                                                                               address the valuation of business enterprises or the underlying
      Market participants in the exit market;
                                                                                               tangible and intangible assets of such going concern entities for
      Highest and best use of the acquired assets;                                             financial reporting purposes;




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      Research, review and analysis of, among other things: (i) the
      financial condition of the Company; (ii) the recent historical
      and prospective return capacity of the Company; (iii) the
      transaction; (iv) the various documents supplied to us by
      Management or as compiled by us from other sources; (v) the
      history and nature of the Company; (vi) economic, industry, and
      stock market trends and data; and (vii) capital market evidence
      regarding investment rates of return; and,

      An analysis of other relevant facts and data available resulting
      in an independent opinion of value applicable only within the
      context of the stated purpose of this valuation.

The Subject Items identified include trade names and trademarks,
customer relationships, and contingent consideration.

The implied fair value of goodwill was determined based upon a
purchase price residual methodology. We have not conducted a
valuation of any current or tangible assets in conjunction with the
transaction. We understand that this valuation will be used for financial
reporting and it is not valid for any other purpose or use.



Sources of Information
In connection with this report, we have made such reviews, analyses,
and inquiries as we have deemed necessary and appropriate under the
circumstances. In the course of our valuation we have relied upon
information provided to us by Management. The principal information
provided to us and used in our valuation is outlined in Appendix I.




                                                                                                                   A.0148
